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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                       :         MDL No. 2804
OPIATE LITIGATION                                 :
                                                  :         Case No. 17-md-2804
This document relates to:                         :
                                                  :         Judge Dan Aaron Polster
Salmons v. Purdue Pharma L.P., et al.             :
MDL Case No. 1:18-op-45268;                       :
                                                  :
Flanagan v. Purdue Pharma L.P., et al.            :
MDL Case No. 1:18-op-45405;                       :
                                                  :
Doyle v. Purdue Pharma L.P., et al.               :
MDL Case No. 1:18-op-46327.                       :

          SUPPLEMENTAL DECLARATION OF DR. KANWALJEET ANAND
                  IN SUPPORT OF THE NAS GUARDIANS’ REPLY
           IN SUPPORT OF THEIR MOTION FOR CLASS CERTIFICATION

       I, Kanwaljeet S. Anand, hereby declare as follows:

        1.       I am a Pediatrician specialized in the care of critically ill newborns and children.
I serve as a fully tenured Professor of Pediatrics, Anesthesiology, Perioperative & Pain Medicine
at Stanford University School of Medicine and as Director of the Pain/Stress Neurobiology
Laboratory at Children’s Hospital Research Institute.

       2.      I submit this Supplemental Declaration in support of the NAS Guardians’ Reply
in Support of Their Consolidated Motion for Class Certification and Appointment of Class
Counsel.

         3.     My declaration dated January 28, 2020, states that “Most clinicians diagnose NAS
in children with modified Finnegan score of 8 or greater from two (2) consecutive assessments
performed by a qualified healthcare practitioner with a minimum interval of 4 hours between the
two consecutive NAS assessments1-4.” The American Academy of Pediatrics (AAP) policy on
“Neonatal Drug Withdrawal” does not give any guidance on threshold values of clinical scores
required to make the diagnosis of Neonatal Abstinence Syndrome (NAS) or to initiate
pharmacologic therapy5. AAP Conclusion #6 states that: “The optimal threshold score for the
institution of pharmacologic therapy by using any of the published abstinence assessment
instruments is unknown”5.

Newborns with no exposure to prenatal opioids by maternal history, urine testing, and chemical
analysis of the baby’s meconium (first stool) were assessed using the Finnegan NAS score.
Median Finnegan scores remained at 2 in the first 3 days of life, and 95th percentile scores
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remained 7 or lower4. Therefore, a cut-off score of 8 or greater on the Modified Finnegan scale
is uniformly accepted as a clinical criterion to assign the diagnosis of NAS. Babies may be
irritable for some other reason (hunger, wet diaper) may occasionally show Finnegan NAS
scores of 8-10. Therefore, it is recommended that 2 consecutive Finnegan NAS scores of 8 or
greater or one Finnegan NAS score of 12 or greater establishes a diagnosis of NAS. In a
collaborative quality initiative across 199 hospitals, S.W. Patrick et al. found that standardized
NAS scoring was associated with 3.3 days shorter hospital length of stay, even after adjusting for
potential confounders6. In a systematic review of NAS assessment and management, Bagley et
al. did not report any uniform criteria for the diagnosis of NAS7.

The Association of State & Territorial Health Officials (ASTHO)8 recommends that “Screening
for NAS should begin with a careful maternal history and physical examination and
supplemented with toxicological testing as needed. Infants who are exposed to opioids should be
observed in the hospital for 4-7 days and their symptoms assessed with the aid of an abstinence
scoring tool … there is no known optimal threshold score for starting pharmacological therapy
for any of the published screening tools.”

       4.      Based on the published medical literature, my knowledge, training and clinical
experience, I declare that the children of Clients:

       (a) Melissa Barnwell
       (b) Jacqueline Ramirez                       and
       (c) Ashely Poe

do meet the class definition of clients with children suffering from NAS based on the criteria
below:




       References:
       1
         Finnegan LP, Connaughton JF, Jr., Kron RE, Emich JP. Neonatal abstinence syndrome:
       assessment and management. Addict Dis 1975;2:141-58.
       2
         Finnegan LP, Kron RE, Connaughton JF, Emich JP. Assessment and treatment of
       abstinence in the infant of the drug-dependent mother. Int J Clin Pharmacol Biopharm
       1975;12:19-32.
       3
         Lifshitz M, Gavrilov V, Galil A, Landau D. A four year survey of neonatal narcotic
       withdrawal: evaluation and treatment. Isr Med Assoc J 2001;3:17-20.
       4
         Zimmermann-Baer U, Notzli U, Rentsch K, Bucher HU. Finnegan neonatal abstinence
       scoring system: normal values for first 3 days & weeks 5-6 in non-addicted infants.
       Addiction 2010;105:524-8.
       5
         Hudak ML, Tan RC, Committee On D, Committee On F, Newborn, American Academy


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       of P. Neonatal drug withdrawal. Pediatrics 2012;129:e540-60.
       6
         Patrick SW, et al. Improving Care for Neonatal Abstinence Syndrome. Pediatrics
       2016;137.
       7
         Bagley SM, Wachman EM, Holland E, Brogly SB. Review of the assessment and
       management of neonatal abstinence syndrome. Addict Sci Clin Pract 2014;9:19.
       8
         Ramakrishnan M. Neonatal Abstinence Syndrome: How States Can Help Advance the
       Knowledge Base for Primary Prevention and Best Practices of Care
       https://www.astho.org/Prevention/NAS-Neonatal-Abstinence-Report/. Arlington, VA:
       Association of State and Territorial Health Officials; 2014.

       5.       I have reviewed and relied on the attached peer-reviewed publications in forming
my expert opinion in these actions. The attached two appendices with exhibits are for the
Court’s convenience. The complete list of documents that I relied on are set forth in my original
declaration filed January 7, 2020, and further identified in my deposition taken on January 28,
2020. The peer-reviewed publications are reliable evidence in support of my opinions and would
reasonably be relied upon by experts in Neonatal Abstinence Syndrome. Attached hereto are
true and correct copies of the following two appendices with exhibits:

Appendix 1 (Filed Under Seal)

       Exhibit A1:    Barnwell medical records with Bates numbers            000003-194.

       Exhibit A2:    Barnwell medical records with Bates numbers            000001-235.

       Exhibit A3:    Barnwell medical records with Bates numbers   000236-83, 288-
                      337; Barnwell-000163-4;
                      MelissaPBarnwellDanielAWatrousMDMedical001-3, 25.

       Exhibit B:     Ramirez medical records with Bates numbers              000049-101, 171-
                      248.

       Exhibit C:     Poe medical records.

Appendix 2 (Articles)

       Exhibit A: Baldacchino A, Arbuckle K, Petrie DJ, et al. Neurobehavioral consequences
                  of chronic intrauterine opioid exposure in infants and preschool children: a
                  systematic review and meta-analysis. BMC Psychiatry. 2014;14;104.
                  doi:10.1186/1471-244X-14-104

       Exhibit B: Baldacchino A, Arbuckle K, Petrie DJ, et al. Erratum: Neurobehavioral
                  consequences of chronic intrauterine opioid exposure in infants and
                  preschool children: a systematic review and meta-analysis. BMC Psychiatry.
                  2015;15:134. doi:10.1186/s12888-015-0438-5




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     Exhibit C: Clemans-Cope L, Holla N, Lee HC, et al. Neonatal abstinence syndrome
                management in California birth hospitals: results of a statewide survey. J
                Perinatol. 2020;40:463-472. doi:10.1038/s41372-019-0568-6

     Exhibit D: Dowell D, Haegerich TM, Chou R. CDC Guideline for Prescribing Opioids
                for Chronic Pain–United States, 2016. JAMA. 2016;315(15):1624-1645.
                doi:10.1001/jama.2016-1464

     Exhibit E: Fill MA, Miller AM, Wilkinson RH, et al. Educational Disabilities Among
                Children Born With Neonatal Abstinence Syndrome. Pediatrics.
                2018;142(3):e20180562. doi:10.1542/peds.2018-0562

     Exhibit F: Honein MA, Boyle C, Redfield RR. Public Health Surveillance of Prenatal
                Opioid Exposure in Mothers and Infants. Pediatrics. 2019;143(3):
                e20183801. doi:10.1542/peds.2018-3801

     Exhibit G: Jarlenski MP, Krans EE, Kim JY, et al. Five-Year Outcomes Among
                Medicaid-Enrolled Children With In Utero Opioid Exposure. Health Affairs.
                2020;39(2):247-255. doi:10.1377/hlthaff.2019-00740

     Exhibit H: Logan BA, Brown MS, Hayes MJ. Neonatal Abstinence Syndrome:
                Treatment and Pediatric Outcomes. Clin Obstet Gynecol. 2013;56(1):186-92.
                doi:10.1097/GRF.0b013e31827feea4

     Exhibit I:   Mazure CM, Fiellin DA. Women and opioids: something different is
                  happening here. Lancet. 2018;392:9-11

     Exhibit J:   Palumbo SA, Adamson KM, Krishnamurthy S, et al. Assessment of Probable
                  Opioid Use Disorder Using Electronic Health Record Documentation. JAMA
                  Netw Open. 2020;3(9):e2015909. doi:10.1001/jamanetworkopen.2020.15909

     Exhibit K: Patrick SW, Barfield WD, Poindexter BB, et al. Neonatal Opioid Withdrawal
                Syndrome. Pediatrics. 2020;146(5):e2020029074. doi:10.1542/peds.2020-
                029074

     Exhibit L: Rosenberg JM, Bilka BM, Wilson SM, et al. Opioid Therapy for Chronic
                Pain: Overview of the 2017 US Department of Veterans Affairs and US
                Department of Defense Clinical Practice Guideline. Pain Med.
                2018;19(5):928–941. doi:10.1093/pm/pnx203

     Exhibit M: Rubenstein E, Young JC, Croen LA, et al. Brief Report: Maternal Opioid
                Prescription from Preconception Through Pregnancy and the Odds of Autism
                Spectrum Disorder and Autism Features in Children. J Autism Dev Disord.
                2019;49(1):376–382. doi:10.1007/s10803-018-3721-8




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     Exhibit N: Sirnes E, Griffiths ST, Aukland SM, et al. Functional MRI in prenatally
                opioid-exposed children during a working memory-selective attention task.
                Neurotoxicol Teratol. 2018;66:46-54. doi:10.1016/j.ntt.2018.01.010

     Exhibit O: Yeoh SL, Eastwood J, Wright IM, et al. Cognitive and Motor Outcomes of
                Children With Prenatal Opioid Exposure: A Systematic Review and Meta-
                analysis. JAMA Netw Open. 2019;2(7):e197025. doi:10.1001/
                jamanetworkopen.2019.7025

     Exhibit P: Kahn DJ, Richardson DK, Gray JE, et al. Variation Among Neonatal
                Intensive Care Units in Narcotic Administration. Arch Pediatr Adolesc Med.
                1998;152:844-51

     Exhibit Q: Newville J, Maxwell J, Kitase Y, et al. Perinatal Opioid Exposure Primes the
                Peripheral Immune System Toward Hyperreactivity. Front Pediatr.
                2020;8(272):1-12. doi:10.3389/fped.2020-00272

     Exhibit R: US Dept of Health and Human Services. Pain Management Best Practices
                Inter-Agency Task Force Report: Updates, Gaps, Inconsistencies, and
                Recommendations. 2019, May. Available at https://hhs.gov/ash/advisory-
                committees/pain/reports/index.html

     Exhibit S: National Institute of Health, National Institute on Drug Abuse. Sex and
                gender differences in substance use. 2020, Jan. Available at
                https://www.drugabuse.gov/publications/research-reports/

     Exhibit T: Centers for Disease Control and Prevention. CDC Articles and Key Findings
                About Opioid Use During Pregnancy. 2019, Nov. Available at
                https://cdc.gov/pregnancy/opioids/articles.html

     Exhibit U: Centers for Disease Control and Prevention. Pregnancy and Opioid Pain
                Medications. Available at https://cdc.gov/drugoverdose/prescribing/
                guideline.html

     I declare under penalty of perjury that the foregoing facts are true and correct.

     Executed on __November 11__, 2020.




                                           KANWALJEET S. ANAND
                                           M.B.B.S., D.Phil., FAAP, FCCM, FRCPCH




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